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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PETER PILARSKI, individually and         )                 Case No. 17-cv-08659
on behalf of similarly situated persons, )
                                         )                 Chief Judge Rebecca R. Pallmeyer
                       Plaintiff,        )
                                         )
                v.                       )
                                         )
RENT RECOVER OF BETTER NOI LLC,          )
later incorporated as RENT RECOVER, LLC, )
and BETTERNOI, LLC,                      )
                                         )
                       Defendants.       )

                       FINAL ORDER APPROVING SETTLEMENT

       WHEREAS, on June 4, 2019, a Preliminary Approval Order was entered by the Court

preliminarily approving the proposed Settlement pursuant to the terms of the Parties’ Settlement

Agreement and directing that notice be given to the Settlement Class. (Doc. 95);

       WHEREAS, pursuant to the notice requirements set forth in the Settlement Agreement

and in the Preliminary Approval Order, the Settlement Class was notified of the terms of the

proposed Settlement, of the right of members of the Settlement Class to opt out, and of the right

of members of the Settlement Class to be heard at a Final Approval Hearing to determine, inter

alia: (1) whether the terms and conditions of the Settlement Agreement are fair, reasonable and

adequate for the release of the claims contemplated by the Settlement Agreement; and (2) whether

judgment should be entered dismissing this Action with prejudice;

       WHEREAS, a Final Approval Hearing was held on September 23, 2019. Prior to the Final

Approval Hearing, Class Members were notified of their right to appear at the Final Approval

Hearing in support of or in opposition to the proposed Settlement, the award of Attorney’s Fees

and Costs to Class Counsel, and the payment of the Incentive Award.

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         NOW, THEREFORE, the Court having heard the presentation of Class Counsel and

counsel for Defendants, having reviewed all of the submissions presented with respect to the

proposed Settlement, having determined that the Settlement is fair, adequate and reasonable,

having considered the Attorney’s Fees and Cost application made by Class Counsel and the

application for an Incentive Award to the Settlement Class Representative and having reviewed

the materials in support thereof, and with good cause appearing:

         THE COURT FINDS AND ORDERS AS FOLLOWS:

         1.    The capitalized terms used in this Final Approval Order and Judgment shall have

the same meaning as defined in the Settlement Agreement except as may otherwise be ordered.

         2.    The Court has jurisdiction over the subject matter of this Action and over all claims

raised therein and all Parties thereto, including the claims of the Settlement Class.

         3.    The Court hereby approves the Settlement, including the plans for implementation

and distribution of the settlement relief, and finds that the Settlement is, in all respects, fair,

reasonable and adequate to the Class Members, within the authority of the Parties and the result of

extensive arm’s-length negotiations. The Parties shall effectuate the Settlement Agreement in

accordance with its terms. The Settlement Agreement and every term and provision thereof shall

be deemed incorporated herein as if explicitly set forth and shall have the full force of an Order of

this Court.

         4.    The Court acknowledges that zero (0) objections to the Settlement were received

and that zero (0) class members opted out.

         5.    The Class will be bound by this Final Approval Order and Judgment, shall include

all members of the Class who did not submit timely and valid requests to be excluded from the

Class.



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       6.      The Court reaffirms the class certified by the Court as, “All persons with a

Michigan address who were sent a letter in the form of Exhibit A attached to the Complaint, as

Amended, that contained, in part, a statement that ‘Your account will accrue interest at a rate of

7.00 percent annum.’”

       7.      The Court finds that the plan for Notice set forth in the Settlement Agreement and

effectuated pursuant to the Preliminary Approval Order was the best notice practicable under the

circumstances. It provided due and sufficient notice to the Class of the pendency of the Action, of

the existence and terms of the Settlement Agreement, and of the Final Approval Hearing, and

satisfied the requirements of the Federal Rules of Civil Procedure, the United States Constitution,

and other applicable law. The Court acknowledges that 320 (three hundred twenty) notices were

returned as undeliverable by the U.S. Post Office, but given the lack of a forwarding address and

that the underlying debt of each class member was alleged to be related to a failure to pay monies

related to rental housing, the Court affirms that direct notice by mail was the best practical means

of notifying the class members of the settlement.

       8.      The Settlement Agreement is, in all respects, fair, reasonable, and adequate, is in

the best interests of the Settlement Class, and is therefore approved.

       9.      All persons who have not made their objections to the Settlement in the manner

provided in the Settlement Agreement are deemed to have waived any objections by appeal,

collateral attack, or otherwise.

       10.     The cash distributions provided for in the Settlement Agreement shall be paid to all

Settlement Class members who did not opt-out and whose notice was not returned as being

undeliverable, pursuant to the terms and conditions of the Settlement Agreement. Each of these

1, 124 (one thousand one hundred twenty-four) persons shall be sent a check in the amount of



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$32.22 (thirty-two dollars and twenty-two cents). The remaining amount of monies from the pro

rata distribution, $9.27 (nine dollars and twenty-seven cents), shall be part of the cy pres award

and distributed according to the terms of the Agreement.

       11.     Upon the Effective Date, members of the Settlement Class who did not validly and

timely opt-out shall, by operation of this Final Approval Order and Judgment, have fully, finally

and forever released, relinquished and discharged Defendants from the claims covered by the

releases contained in the Settlement Agreement.

       12.     All members who did not validly and timely opt-out are hereby permanently barred

and enjoined from filing, commencing, prosecuting, maintaining, intervening in, participating in,

conducting or continuing, either directly or in any other capacity, any action or proceeding in any

court, agency, arbitration, tribunal or jurisdiction asserting any claims released pursuant to the

Settlement Agreement, or seeking an award of fees and costs of any kind or nature whatsoever and

pursuant to any authority or theory whatsoever, relating to or arising from the Action and/or as a

result of or in addition to those provided by the Settlement Agreement.

       13.     The terms of the Settlement Agreement and this Final Approval Order and

Judgment shall have maximum res judicata, collateral estoppel and all other preclusive effect in

any and all claims for relief, causes of action, suits, petitions, demands in law or equity, or any

allegations of liability, damages, debts, contracts, agreements, obligations, promises, attorney’s

fees, costs, interest or expenses that were or could have been asserted in the Action or that are

covered by the releases contained in the Settlement Agreement.

       14.     The Final Approval Order and Judgment, the Settlement Agreement, the Settlement

that it reflects and all acts, statements, documents or proceedings relating to the Settlement are not,

and shall not be construed as, or used as an admission by or against Defendants of any fault,



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wrongdoing, or liability on the part of Defendants, or of the validity or certifiability for litigation

of any claim or the existence or amount of any damages.

       15.     The Court hereby grants Class Counsel’s request for an award of reasonable

Attorney’s Fees and Costs agreed to by the parties, which was capped, in the amount of $73,775

(seventy-three thousand seven hundred seventy-five dollars), further finding a lodestar amount for

Mr. Warner, being $550 (five hundred fifty dollars) per hour for 144.6 (one hundred forty-four

and six-tenths) hours of attorney tine to be reasonable, along with costs of the litigation in the

amount of $5,613.50 to date to be reasonable. This amount is to be paid in accordance with the

Settlement Agreement.

       16.     The Court further grants Class Counsel’s application for an Incentive Award for

Plaintiff in the amount of $5,000 (five thousand dollars). This amount is to be paid in accordance

with the Settlement Agreement.

       17.     The above-captioned Action is hereby dismissed in its entirety with prejudice.

Except as otherwise provided in this Final Approval Order and Judgment, the parties shall bear

their own costs and attorney’s fees. Without affecting the finality of the Judgment hereby entered,

the Court reserves jurisdiction over the implementation of the Settlement Agreement that is

embodied herein including enforcement and administration of the Settlement Agreement, and

distribution of any remaining funds as a cy pres award.

                                                       Enter:



9/25/19                                                ___________________________________
                                                       Rebecca R. Pallmeyer
                                                       United States District Judge




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